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                                                       U.S. Department of Justice

                                                       Michael R. Sherwin
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                       October 7, 2020
Via Email
Sidney Powell
2911 Turtle Creek Blvd., Suite 300
Dallas, TX 75219
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314
                Re:   United States v. Michael T. Flynn, 17-cr-00232 (EGS)
Dear Counsel:
        As we have previously disclosed, beginning in January 2020, the United States Attorney
for the Eastern District of Missouri has been conducting a review of the Michael T. Flynn
investigation. The enclosed document was obtained and analyzed by USAO EDMO during the
course of its review. It is a single page of handwritten notes, dated January 25, 2017, taken by an
attorney with the FBI’s Office of General Counsel.
        These materials are covered by the Protective Order entered by the Court on February 21,
2018.
                                             Sincerely,

                                             MICHAEL R. SHERWIN
                                             Acting United States Attorney

                                             KENNETH C. KOHL
                                             Acting Principal Assistant United States Attorney

                                      By:           /s/
                                             Jocelyn Ballantine
                                             Assistant United States Attorney
Enclosure
